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         IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     GAINESVILLE DIVISION



KENNETH JOHNSON, JR.,

            Plaintiff,

v.                                    Case No. 1:17cv87-MW/GRJ

SADIE DARNELL, et al.,

          Defendant.
_________________________/

       ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation, ECF No. 35, and has also reviewed de novo the objections of

Defendant Darnell, ECF No. 36, and Plaintiff Johnson, ECF No. 37. Accordingly,

      IT IS ORDERED:

      The report and recommendation is accepted and adopted, over the parties’

objections, as this Court’s opinion. The Clerk shall enter judgment stating,

“Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint, ECF No. 29, is




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GRANTED, and Plaintiff’s Amended Complaint, ECF No. 8, is DISMISSED.” In

so stating, this Court recognizes that Alachua County and the Alachua County

Sheriff’s Office are not one in the same. The Clerk shall close the file.

      SO ORDERED on August 2, 2018.

                                       s/Mark E. Walker             ____
                                       United States District Judge




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